AO 257 (Rev. 6/78)        Case 3:21-cr-00097-CRB Document 22-2 Filed 03/09/21 Page 1 of 2

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT              INFORMATION           INDICTMENT                         Name of District Court, and/or Judge/Magistrate Location
                                                       SUPERSEDING                          NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                      SAN FRANCISCO DIVISION
 See Penalty Sheet Attachment                                   Petty

                                                                Minor              DEFENDANT - U.S
                                                                Misde-
                                                                                      GEORGINA RODRIGUEZ
                                                                meanor
                                                                                 
                                                                Felony
                                                                                      DISTRICT COURT NUMBER
PENALTY:       See Penalty Sheet Attachment
                                                                                          CR 21-0097 CRB


                                                                                                                DEFENDANT
                            PROCEEDING                                                  IS NOT IN CUSTODY
                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                       1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                          summons was served on above charges         
       person is awaiting trial in another Federal or State Court,               2)       Is a Fugitive
       give name of court
                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                        IS IN CUSTODY
                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                           }
       charges previously dismissed                                              5)       On another conviction
       which were dismissed on motion                    SHOW                                                                        Federal         State


                                                  }
       of:                                             DOCKET NO.
                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY            DEFENSE
                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                    }
                                                                                                          Yes            If "Yes"
       pending case involving this same                                               Has detainer
                                                                                                                         give date
       defendant                                       MAGISTRATE                     been filed?         No             filed


                                                  }
                                                        CASE NO.
                                                                                                                 Month/Day/Year
       prior proceedings or appearance(s)                                             DATE OF
                                                                                      ARREST
                                                                                                     
       before U.S. Magistrate regarding this         3:20-mj-71033
       defendant were recorded under                                                  Or... if Arresting Agency & Warrant were not

                                                                                      DATE TRANSFERRED                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form
                                                STEPHANIE HINDS                       TO U.S. CUSTODY
                                                                                                                    
                                U.S. Attorney      Other U.S. Agency

Name of Assistant U.S.                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)                   Kyle F. Waldinger
                                                  ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS              NO PROCESS*           WARRANT           Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                           * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                         Date/Time:                                 Before Judge:

        Comments:
        Case 3:21-cr-00097-CRB Document 22-2 Filed 03/09/21 Page 2 of 2




                                 Penalty Sheet Attachment

Count One: Conspiracy to Commit Mail Fraud, 18 U.S.C. § 1349
Counts Two and Three: Mail Fraud and Aiding and Abetting, 18 U.S.C. §§ 1341 & 2
         • 20 years’ imprisonment
         • $250,000 fine or twice the gross gain or gross loss, whichever is greater
         • 3 years’ supervised release
         • $100 special assessment
         • Restitution
         • Forfeiture

Count Four: Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h)
Count Five: Money Laundering and Aiding and Abetting, 18 U.S.C. §§ 1956(a)(1)(B)(i) & 2
         • 20 years’ imprisonment
         • $500,000 fine or twice the value of the property involved in the transaction,
             whichever is greater
         • 3 years’ supervised release
         • $100 special assessment
         • Forfeiture

Forfeiture Allegations
